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                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


HUISHAN CHEN,

                    Plaintiff,                       Civil Action No. 2:24-cv-01516
         v.
                                                     Honorable William S. Stickman
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS                          JURY TRIAL DEMANDED
IDENTIFIED ON SCHEDULE “A,”

                    Defendants.


      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

          Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the
  plaintiff Huishan Chen, and or their counsel(s), hereby give notice that the following
  defendant listed in Schedule “A” of the above-captioned action is dismissed without prejudices.
              •   PAMBO Direct (Defendant No. 22)

        Rule 41(a)(1)(A)(i) sets out that a Plaintiff may voluntarily dismiss its claims without
prejudice and without a Court Order by notice at any time prior to the Defendants filing an
Answer or moving for summary judgment. As of the filing of this Notice, no Defendant has
filed an Answer in this action.

Dated: February 27, 2025
                                                          Respectfully submitted,

                                                          By: /s/ Xiyan Zhang
                                                          Xiyan Zhang
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